                         Case 18-16659-LMI      Doc 68    Filed 02/21/19       Page 1 of 1
Form CGFCRD8 (12/1/15)

                                United States Bankruptcy Court
                                          Southern District of Florida
                                            www.flsb.uscourts.gov
                                                                                      Case Number: 18−16659−LMI
                                                                                      Chapter: 7

In re:
Yuri Lyubarsky                                           Olga Lyubarsky
375 Poinciana Island Dr Unit 1135                        375 Poinciana Island Dr Unit 1135
North Miami Beach, FL 33160                              North Miami Beach, FL 33160

SSN: xxx−xx−7158                                         SSN: xxx−xx−7160


                              RENOTICE OF EVIDENTIARY HEARING
                                    RESET AS AN EVIDENTIARY − CHANGE TIME



NOTICE IS HEREBY GIVEN THAT AN EVIDENTIARY HEARING will be held on March 6, 2019 at 11:00
AM, at the following location:

C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom 8, Miami, FL 33128

to consider the following:

Motion to Compromise Controversy with Debtors, YURI LYUBARSKY and OLGA LYUBARSKY Filed
by Trustee Marcia T Dunn. (Read, Alexis) (65)

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.


Dated: 2/21/19                                           CLERK OF COURT
                                                         By: Noemi Sanabria
                                                         Courtroom Deputy
